                       So Ordered.

   Dated: October 6th, 2021
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              6
                                      UNITED STATES BANKRUPTCY COURT
              7                       EASTERN DISTRICT OF WASHINGTON
              8   In re                                       Chapter 11
              9   EASTERDAY RANCHES, INC., et al.             Lead Case No. 21-00141-WLH11
                                                              Jointly Administered
             10                               Debtors.1
                                                              ORDER APPROVING SECOND
             11                                               STIPULATION BY AND BETWEEN
             12                                               DEBTOR EASTERDAY FARMS AND
                                                              MACK FINANCIAL REGARDING
             13                                               MOTION FOR RELIEF FROM STAY
             14            Upon the Second Stipulation by and between Debtor Easterday Farms and
             15   Mack Financial Regarding Motion for Relief from Stay (the “Second Stipulation”),2 and
             16   as stipulated and agreed by and Debtor Easterday Farms, a Washington General
             17   Partnership (“Farms”) and Mack Financial Services, a division of VFS US LLC (“Mack
             18   Financial” and, together with Farms, the “Parties”),
             19            IT IS HEREBY ORDERED AS FOLLOWS:
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                          1.   The Stipulation [ECF No. 1157] is construed as a motion to approve its
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             22   terms. So construed, the motion is granted and the Stipulation is approved.

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                    The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
             25     (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
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                    A capitalized term used but not defined herein shall have the meaning ascribed to it
             26     in the Stipulation.
             27
                      ORDER APPROVING SECOND
             28       STIPULATION – Page 1                       P ACHULSKI S TANG                   B USH K ORNFELD           LLP
                                                                 Z IEHL & J ONES L L P                       LAW OFFICES
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              1           2.     Upon entry of this order, Mack Financial shall be entitled to immediate
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                  relief from the automatic stay with respect to the Collateral covered by the Motion.
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              4   Mack Financial shall arrange with Farms to take possession of the Collateral as soon as

              5   practicable.
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                          3.     Upon taking possession of the collateral, Mack Financial waives any right
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              8   to assert a deficiency or any other claim against either or both of the Debtors. Within

              9   14 days of entry of this order, Mack Financial shall withdraw claims 62, 63, and 64 filed
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                  in the Easterday Ranches case.
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             12           4.     This court shall retain exclusive jurisdiction and power with respect to all
             13   matters arising from or related to the implementation of this order.
             14

             15                                       /// End of Order ///

             16   Presented by:
             17   BUSH KORNFELD LLP
             18    /s/ Thomas A. Buford, III
                  THOMAS A. BUFORD, III (WSBA 52969)
             19
             20   RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
                  JEFFREY W. DULBERG (Admitted Pro Hac Vice)
             21   MAXIM B. LITVAK (Admitted Pro Hac Vice)
                  PACHULSKI STANG ZIEHL & JONES LLP
             22
                  Attorneys for Debtors and Debtors in Possession
             23

             24

             25   * Change made by court

             26

             27

             28                                                     P ACHULSKI S TANG                   B USH K ORNFELD           LLP
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